      Case: 22-2839    Document: 21    Page: 1   Date Filed: 01/30/2023




                               No. 22-2839
                             CAPITAL CASE

               UNITED STATES COURT OF APPEALS
                    FOR THE THIRD CIRCUIT

                      ROBERT WHARTON, Petitioner,
                                      v.
                  DONALD T. VAUGHN, Respondent.
         Appeal of The Philadelphia District Attorney’s Office,
                 Paul George, and Nancy Winkelman

      On Appeal from the Order entered on September 12, 2022, in the
      United States District Court for Eastern District of Pennsylvania
                 in Civil Action No. 2:01-cv-06049-MSG

    BRIEF OF AMICI CURIAE JAMES BECKER, DORIS BROGAN,
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             Case: 22-2839             Document: 21                Page: 2       Date Filed: 01/30/2023




                                           TABLE OF CONTENTS

TABLE OF CONTENTS ........................................................................................ i

TABLE OF AUTHORITIES ................................................................................ ii

STATEMENT OF INTEREST...............................................................................1

SUMMARY OF THE ARGUMENT .....................................................................1

ARGUMENT ............................................................................................................3

   A.       The Plain Text of Rule 11 Does Not Support The Sanctions Order. ............3

        1. Rule 11(b)(3) does not apply to the DAO’s concession of a legal issue
        based on a review or a careful review................................................................5

        2. The District Court misapplied Rule 11(b)(3)’s “evidentiary support”
        standard. .............................................................................................................8

   B.       The District Court’s Imposition of Sanctions Hinders the Interests of Justice.
            …………………………………………………………………………….11

CONCLUSION.......................................................................................................16

ADDENDUM – LIST OF AMICI CURIAE........................................................17

CERTIFICATION OF COMPLIANCE .............................................................24

CERTIFICATE OF BAR MEMBERSHIP .........................................................24

CERTIFICATE OF IDENTICAL COMPLIANCE OF BRIEFS ....................24

CERTIFICATE OF VIRUS SCAN ......................................................................24

CERTIFICATE OF SERVICE ............................................................................25




                                                               i
            Case: 22-2839          Document: 21          Page: 3         Date Filed: 01/30/2023




                                    TABLE OF AUTHORITIES

                                                                                                        Page(s)

Cases

In re 15375 Mem’l Corp.,
    430 B.R. 142 (Bankr. D. Del. 2010) ................................................................... 12

Alston v. Speigel (In re Ames),
   993 F.3d 27 (1st Cir. 2021) ................................................................................. 11

Arthur Children’s Trust v. Keim,
   994 F.2d 1390 (9th Cir. 1993) .............................................................................. 6

Berckeley Inv. Grp., Ltd. v. Colkitt,
   259 F.3d 135 (3d Cir. 2001) ................................................................................. 4

Bus. Guides, Inc. v. Chromatic Commc'ns Enterprises, Inc.,
  498 U.S. 533, 111 S. Ct. 922 (1991)..................................................................... 3

Commonwealth v. Wharton,
  607 A.2d 710 (Pa. 1992) ..................................................................................... 10

Commonwealth v. Wharton,
  665 A.2d 458 (Pa. 1995) ..................................................................................... 10

Commonwealth v. Wharton,
  811 A.2d 978 (Pa. 2002) ..................................................................................... 10

Commonwealth v. Wharton,
  961 A.2d 107 (Pa. 2008) ..................................................................................... 10

Ford Motor Co. v. Summit Motor Prod., Inc.,
  930 F.2d 277 (3d Cir. 1991) ............................................................................... 11

Gaiardo v. Ethyl Corp.,
  835 F.2d 479 (3d Cir. 1987) ............................................................................... 11

Hartman v. Hallmark Cards, Inc.,
  833 F.2d 117 (8th Cir. 1987) .............................................................................. 11




                                                        ii
             Case: 22-2839            Document: 21             Page: 4          Date Filed: 01/30/2023




Hunter v. Earthgrains Co. Bakery,
  281 F.3d 144 (4th Cir. 2002) .............................................................................. 12

Interfaith Cmty. Org. v. Honeywell Int’l, Inc.,
   726 F.3d 403 (3d Cir. 2013), as amended (July 22, 2013) ................................... 4

Obert v. Republic W. Ins. Co.,
  398 F.3d 138 (1st Cir. 2005) .......................................................................6, 7, 15

Pavelic & LeFlore v. Marvel Entertainment Group,
  493 U.S. 120, 110 S.Ct. 456 (1989)...................................................................... 3

Stone v. Wolff Properties LLC,
   135 F. App’x 56 (9th Cir. 2005) ..................................................................... 5, 11

Strickland v. Washington,
   466 U.S. 668 (1984) .......................................................................................... 6, 8

U.S. v. Snyder,
   136 F.3d 65 (1st Cir. 1998) ................................................................................. 14

Wharton v. Vaughn,
  722 F. App’x 268 (3d Cir. 2018) ........................................................................ 10

Young v. U.S.,
  315 U.S. 257 (1942) ............................................................................................ 14

Statutes and Rules

Federal Rule of Civil Procedure 11 ..................................................................passim

Other Authorities

American Judicature Society, Rule 11 in Transition: The Report of the
  Third Circuit Task Force on Federal Rule of Civil Procedure 11
  (S. Burbank ed., 1989) ........................................................................................ 14

BLACK’S LAW DICTIONARY (11th ed. 2019) ................................................. 5, 7

Gregory P. Joseph, SANCTIONS: THE FEDERAL LAW OF LITIGATION
   ABUSE ................................................................................................................ 7, 9

Merriam-Webster.com, 2023 https://www.merriam-
  webster.com/dictionary/fact.................................................................................. 5

                                                             iii
         Case: 22-2839     Document: 21     Page: 5   Date Filed: 01/30/2023




                          STATEMENT OF INTEREST1

      Amici curiae are current or former practicing lawyers, law professors, and

legal scholars whose scholarship, teaching, and professional activities focus on or

inherently require expertise in civil procedure, legal ethics, and professional

responsibility. Amici curiae respectfully submit this brief to address the district

court’s unwarranted imposition of sanctions under Federal Rule of Civil Procedure

11(b)(3) following the District Attorney’s Office’s Notice of Concession on

Wharton’s Strickland claim and the likely implications of such an unprecedented

imposition of sanctions under Rule 11. The addendum to this brief includes a

complete list of amici that have joined this brief.

                       SUMMARY OF THE ARGUMENT

      The district court’s imposition of sanctions represents a dangerous and

unwarranted expansion of Rule 11. The district court imposed Rule 11 sanctions

where the attorneys had not made “factual contentions” that were false or lacked

“evidentiary support.” Instead, the district court erroneously held that attorneys in

the District Attorney’s Office (“DAO”) violated Rule 11(b)(3) by filing a Notice of

Concession of habeas corpus relief and stating that the DAO had “reviewed” or




1
 All parties consented to this amicus brief. No counsel for a party authored this
brief in whole or in part, and no party or counsel for a party made any monetary
contribution intended to fund the preparation or submission of this brief.

                                           1
         Case: 22-2839     Document: 21     Page: 6     Date Filed: 01/30/2023




“carefully reviewed the facts and law….” The district court took issue with those

assertions because the attorneys were unaware of a decades-old fact that the court

viewed as relevant to mitigation/aggravation—a fact that the prosecutors at

defendant’s retrial did not even seek to use to support aggravation.

      The DAO unquestionably conducted a “review,” and that assertion was not

false. The habeas concession and attorney statements about “carefully review[ing]”

the case were not “factual contentions” within the meaning of Rule 11. Moreover,

a court cannot sanction an attorney under Rule 11 for saying he or she conducted a

careful or reasonable review because the attorney did not discover or learn of a fact

that the court believes to have been relevant. Just because attorneys at the DAO did

not learn of a particular fact in their investigation, it does not follow that there was

no “factual support” for their asserting that a careful investigation had been

conducted.

      The district court’s order significantly expands Rule 11 responsibility well

beyond the text of the Rule. If upheld, it also would encourage certain private

litigants to bring new and distracting Rule 11 motions if they determine that

opposing counsel did not learn of a particular fact or facts as part of their required

investigation behind a particular pleading or motion.

      The danger of unwarranted sanctions is particularly acute when they are

imposed, sua sponte, by the Court, rather than through the safe-harbor practice



                                           2
         Case: 22-2839    Document: 21     Page: 7    Date Filed: 01/30/2023




litigants must follow when seeking Rule 11 sanctions. In the latter circumstances,

counsel has an opportunity to clarify or limit any statement identified by opposing

counsel, but the attorneys here were not afforded that opportunity prior to the

imposition of Rule 11 sanctions.

      Finally, the imposition of sanctions here threatens to chill prosecutors taking

on the important and sometimes unpopular work of reviewing past convictions to

determine whether or not a citizen’s due process rights have been violated. It is one

thing for a court to disagree with a prosecutor or litigant on the merits, it is quite

another to adopt an expansive and non-textual view of Rule 11 to punish prosecutors

or other lawyers for their advocacy.

                                   ARGUMENT

      The district court’s sanctions order is not supported by the plain text of Rule

11, and the rationale behind the imposition of sanctions here would significantly

expand Rule 11 practice and sanctions beyond the intended scope of the Rule. Amici

respectfully submit that this Court should reverse.

   A. The Plain Text of Rule 11 Does Not Support The Sanctions Order.

      The proper analysis of Rule 11 begins with a careful examination of the text.

See Bus. Guides, Inc. v. Chromatic Commc’ns Enters., Inc., 498 U.S. 533, 540–41,

111 S. Ct. 922, 928 (1991) (“As with a statute, our inquiry is complete if we find the

text of the Rule to be clear and unambiguous.”); Pavelic & LeFlore v. Marvel Entm’t



                                          3
        Case: 22-2839     Document: 21     Page: 8      Date Filed: 01/30/2023




Grp., 493 U.S. 120, 123, 110 S.Ct. 456, 458 (1989) (“We give the Federal Rules of

Civil Procedure their plain meaning, and generally with them as with a statute,

‘[w]hen we find the terms . . . unambiguous, judicial inquiry is complete.’”)

(citations omitted); Berckeley Inv. Grp., Ltd. v. Colkitt, 259 F.3d 135, 142 n.7 (3d

Cir. 2001) (“The Supreme Court and this Court have repeatedly held that the Federal

Rules of Civil Procedure, like any other statute, should be given their plain

meaning.”); Interfaith Cmty. Org. v. Honeywell Int’l, Inc., 726 F.3d 403, 408 (3d

Cir. 2013), as amended (July 22, 2013) (“[W]e begin, as we must, with the text of

the rule.”). The text of Rule 11 does not support sanctions here.

      In relevant part, Rule 11(b)(3) states:

             By presenting to the court a pleading, written motion, or
             other paper—whether by signing, filing, submitting, or
             later advocating it—an attorney or unrepresented party
             certifies that to the best of the person’s knowledge,
             information, and belief, formed after an inquiry reasonable
             under the circumstances . . . the factual contentions have
             evidentiary support.

Fed. R. Civ. P. 11(b)(3) (emphasis added).

      In unambiguous terms, the Rule provides that any imposition of sanctions

pursuant to section (b)(3) requires (1) a “factual contention” that (2) lacks

“evidentiary support.” Neither criterion is met here.




                                          4
         Case: 22-2839     Document: 21     Page: 9    Date Filed: 01/30/2023




          1. Rule 11(b)(3) does not apply to the DAO’s concession of a legal issue
             based on a review or a careful review.

      The district court erred as a matter of law in concluding that a lawyer’s

concession of a legal issue following a “review” or “carefu[l] revie[w]” of the matter

can be sanctionable under Rule 11(b)(3) simply because that lawyer did not learn of

a fact the court later found to have been important. To be sure, a lawyer can be

sanctioned for asserting a false fact, e.g., stating that a traffic light was green when

in fact it was red—but even then only where there was no evidentiary support for

saying it was green. A lawyer’s concession of a legal issue based on a statement

about a “review” or “carefu[l] revie[w]” of the facts is not within the purview of

Rule 11(b)(3).

                 i. Rule 11(b)(3) only applies to factual contentions.

      Rule 11(b)(3) applies only to “factual contentions.” A factual contention

requires a statement of fact—information presented as having objective reality or

truth. See Fact, BLACK’S LAW DICTIONARY (11th ed. 2019) (“Something that

actually exists; an aspect of reality . . . as distinguished from its legal effect,

consequence, or interpretation”); see also Fact, Merriam-Webster.com, 2023

https://www.merriam-webster.com/dictionary/fact.

      A factual contention must be capable of being proven false. See Stone v. Wolff

Props. LLC, 135 F. App’x 56, 58 (9th Cir. 2005) (noting that while attorney’s Rule

11 certification may have been unreasonable “it simply is not true that his statement


                                           5
        Case: 22-2839     Document: 21     Page: 10     Date Filed: 01/30/2023




was false or, taking his statement as a factual contention, that it did not have, in the

words of Rule 11(b)(3), ‘evidentiary support’”). A statement that is “more fairly

described as an unsound piece of lawyer advocacy rather than a lie about a fact” or

that is “simply tendentious characterization” does not warrant sanctions under Rule

11. Obert v. Republic W. Ins. Co., 398 F.3d 138, 144 (1st Cir. 2005); Arthur

Children’s Trust v. Keim, 994 F.2d 1390, 1399 (9th Cir. 1993) (statements that are

“argumentative but not false” not sanctionable).

                ii. The DAO’s legal concession based on a “careful review” is not
                    a factual contention.

      The district court imposed sanctions based on the attorneys’ representations

as part of the DAO’s habeas corpus concession that it conducted a review or a careful

review of the case. On February 6, 2019, the DAO filed its Notice of Concession

of Penalty Phase Relief (ECF 155) (“Notice”), which stated in part:

             Following review of this case by the [CCRC] . . .
             respondent hereby reports to the Court that it concedes
             relief on petitioner’s remaining claim of ineffective
             assistance at the second penalty hearing, and does not
             contest the grant of a conditional writ of habeas corpus
             with respect to petitioner’s death sentences.

Notice at ¶ 9 (emphasis added). In subsequent briefing requested by the Court, the

DAO stated that it had “carefully reviewed the facts and law and determined that

Wharton’s ineffectiveness claim fulfills the criteria articulated in Strickland v.

Washington, 466 U.S. 668 (1984).” ECF 162, at 3 (emphasis added).



                                           6
        Case: 22-2839     Document: 21        Page: 11   Date Filed: 01/30/2023




      The concession itself is not subject to Rule 11 sanctions under Rule 11(b)(3).

A concession is a “voluntary yielding” to a legal issue—not a factual contention.

Concession, BLACK’S LAW DICTIONARY (11th ed. 2019). And there is no question

that the DAO conducted a “review” of the case. Amici do not dispute that the

assertion that the DAO conducted “a review” could be viewed as factual. However,

the simple statement that the DAO conducted “a review” cannot be the basis for the

district court’s imposition of sanctions in this case because it cannot be viewed as

false. The DAO unquestionably did, in fact, conduct a review. That assertion is

made no less true because the review that was conducted did not include one fact

that the court later regarded as important.

      The core of the court’s Rule 11 scrutiny of the attorneys’ actual statements

centered on the representation that the DAO had “carefully reviewed” the case. But

their characterization of the review as “careful” is not a statement amenable to

sanctions. See Gregory P. Joseph, SANCTIONS: THE FEDERAL LAW OF LITIGATION

ABUSE § 9 (citing Obert, 398 F.3d at 143). At best, it is a well-founded statement

of a legal conclusion, or, at worst, it is a “piece of lawyer advocacy,” with which the

district court happened to disagree. Obert, 398 F.3d at 144. It was not “a lie about

a fact.” See id.

      Rather than focus on the text of Rule 11 and the attorneys’ actual statements,

the district court concluded that the DAO’s statement that its careful review found



                                          7
        Case: 22-2839      Document: 21     Page: 12     Date Filed: 01/30/2023




merit to Wharton’s Strickland claim “contained an implied representation, subject

to Rule 11(b)(3), that the [DAO] was not aware of any significant, contrary facts that

would lead any reasonable judge to deny the requested relief.”         ECF 314 at 15

(emphasis added). But the attorneys made no such statement. The district court

significantly expanded Rule 11 by transforming the attorney’s actual statements into

“implied representation[s]” that the court then found violated Rule 11.

      The DAO told the district court that “a court may, but is not bound, to accept

[the DAO’s] concession,” ECF 162 at 1, 5, and “[i]f the record is insufficient to rule

on the remaining [ineffectiveness] claim, the Court can conduct an evidentiary

hearing,” id. at 5. The DAO acknowledged that its concession, based on the DAO’s

assessment of the facts and circumstances, was a statement with which the court

could disagree and that the court might wish to conduct its own review. The DAO

expressed its willingness for the district court to do just that.

          2. The District Court misapplied Rule 11(b)(3)’s “evidentiary support”
             standard.

      The district court also improperly read into Rule 11(b)(3) a standard that is

not supported by the text. Under Rule 11(b)(3), an attorney presenting to the court

“certifies that to the best of the person’s knowledge, information, and belief, formed

after an inquiry reasonable under the circumstances” his or her factual contentions




                                            8
        Case: 22-2839     Document: 21     Page: 13    Date Filed: 01/30/2023




“have evidentiary support.” Fed. R. Civ. P. 11(b)(3). A position with “evidentiary

support” is not necessarily a prevailing one. Joseph, SANCTIONS § 9.

      The standard does not require attorneys to assert facts on which there can be

no basis for disagreement, nor is it one of whether different facts or evidence might

support a different conclusion. The standard asks a simple question of whether

evidence exists that supports the contention made.

      Rather than address whether the DAO’s statements had evidentiary support,

the district court instead focused entirely upon one piece of evidence it viewed as

undercutting the DAO’s stated position. The district court concluded that “not

identifying Wharton’s escape cannot, under any circumstances, constitute a

‘reasonable inquiry.’” ECF 314 at 11–12. In other words, the district court found

that the DAO violated Rule 11, regardless of what other steps the DAO may have

taken to review the case and to be thorough in that review, because its investigation

and review of the facts did not identify one particular fact that the court later found

to be important. See id. That approach is inconsistent with the “evidentiary support”

standard of Rule 11. An attorney can conduct what he or she believes is a thorough

review and not learn of a potentially important fact. That does not mean he or she

violated Rule 11.

      Moreover, lawyers for the DAO did not make any representation that any

particular fact or piece of evidence concerning mitigation supported or did not



                                          9
        Case: 22-2839    Document: 21     Page: 14    Date Filed: 01/30/2023




support their concession. And, in any event, the one fact the district court found

critical (i.e., Wharton’s escape attempt from county prison) was not even used by

the trial prosecutors to rebut Wharton’s good conduct evidence. No court reviewing

the case over the past three decades had referenced the escape attempt either.2

      That the attorneys representing the DAO did not know of the escape does not

mean that their statements about a review or a careful review lacked evidentiary

support or that they did not meet their obligation of conducting a reasonable

investigation before signing a pleading under Rule 11. The district court’s

interpretation of Rule 11 would (a) graft onto Rule 11 an obligation to investigate

and know every potentially relevant fact as part of counsel’s duty of investigation,

and (b) transform the test for the accuracy of statements from whether there is

“evidentiary support” to one requiring “no contrary evidence.” Rule 11 does not and

should not contain any such requirements.       The district court’s imposition of

sanctions is contrary to the plain text of Rule 11(b)(3), would considerably expand

Rule 11, and should be reversed.




2
 See, e.g., Commonwealth v. Wharton, 607 A.2d 710 (Pa. 1992); Commonwealth v.
Wharton, 665 A.2d 458 (Pa. 1995); Commonwealth v. Wharton, 811 A.2d 978 (Pa.
2002); Commonwealth v. Wharton, 961 A.2d 107 (Pa. 2008); Wharton v. Vaughn,
722 F. App’x 268 (3d Cir. 2018).

                                         10
        Case: 22-2839    Document: 21     Page: 15    Date Filed: 01/30/2023




   B. The District Court’s Imposition of Sanctions Hinders the Interests of
      Justice.

      The district court’s errant expansion of Rule 11 beyond its careful text

represents a dangerous and unwarranted expansion of Rule 11. It is one thing to

disagree with a party; it is quite another to weaponize Rule 11 to punish lawyers who

take legal positions with which the Court disagrees. While Rule 11 sanctions may

be appropriate for statements that are “patently unmeritorious or frivolous,” Ford

Motor Co. v. Summit Motor Prod., Inc., 930 F.2d 277, 289 (3d Cir. 1991), Rule 11

plainly “does not authorize sanctions for all conduct of which a court might

disapprove.” Stone, 135 F. App’x 56, 59 (9th Cir. 2005); Gaiardo v. Ethyl Corp.,

835 F.2d 479, 482–483 (3d Cir. 1987) (“Rule 11 sanctions … do not automatically

or usually follow an adverse judgment or ruling. Substantially more is required”);

Hartman v. Hallmark Cards, Inc., 833 F.2d 117, 124 (8th Cir. 1987) (“Despite the

fact that Hartman may have had a weak case and did not ultimately prevail on the

merits, … [R]ule 11 was not violated.”); Alston v. Speigel (In re Ames), 993 F.3d 27,

35 (1st Cir. 2021) (“[T]he mere fact that a claim ultimately proves unavailing,

without more, cannot support the imposition of Rule 11 sanctions.”) (citation,

brackets and internal quotation marks omitted).

      The Advisory Committee Notes from the 1993 Amendment regarding sua

sponte sanctions note that “[s]ince show cause orders will ordinarily be issued only

in situations that are akin to a contempt of court, the rule does not provide a ‘safe


                                         11
        Case: 22-2839     Document: 21      Page: 16     Date Filed: 01/30/2023




harbor’ to a litigant for withdrawing a claim, defense, etc., after a show cause order

has been issued on the court’s own initiative.” Fed. R. Civ. P. 11 Advisory

Committee’s Note to 1993 Amendment.             Given that the usual “safe harbor”

protecting a lawyer from sanctions sought by opposing counsel does not apply to

court-initiated Rule 11 proceedings, a court’s power to issue a sanction, sua sponte,

under Rule 11 must be strictly circumscribed. See, e.g., Hunter v. Earthgrains Co.

Bakery, 281 F.3d 144, 151 (4th Cir. 2002) (“Importantly, a sua sponte show cause

order deprives a lawyer against whom it is directed of the mandatory twenty-one day

‘safe harbor’ provision . . . In such circumstances, a court is obliged to use extra care

in imposing sanctions on offending lawyers.”); accord In re 15375 Mem’l Corp.,

430 B.R. 142, 150 (Bankr. D. Del. 2010) (“Like courts’ sua sponte sanctions under

FRCP 11, requests [for Bankruptcy] Rule 9011 sanctions for filing a petition require

heightened scrutiny. In sua sponte circumstances . . . there is no ‘safe harbor’ in the

rule allowing lawyers to correct or withdraw their challenged filings. Courts will

therefore impose sua sponte sanctions only in situations that are akin to contempt of

court.”) (internal citations and quotations omitted).

      The fear of unpredictable sanctions for advancing an argument with which a

court may later disagree would create a chilling effect on advocacy. If the district

court’s approach to Rule 11 were upheld, courtroom advocates of all stripes would

be more hesitant in their advocacy for fear that judges might sanction them if they



                                           12
        Case: 22-2839    Document: 21     Page: 17     Date Filed: 01/30/2023




disagreed with counsel’s “implied representations” or concluded that counsel’s

factual investigation was insufficiently thorough merely because counsel was

unaware of a particular fact that opposing counsel or the court later believed to be

significant.

      The district court’s sanctions order has broad implications, given the

frequency with which counsel may represent to the court that they have conducted a

review. For example, class counsel who seek court approval of a settlement based

on “a review” of the facts and authority would risk sanctions were the court to

conclude that counsel was unaware of a single fact that counseled against the

settlement. And every complaint and answer is signed with a Rule 11 certification

based on a counsel’s review of the facts supporting the allegations and defenses

pled—prior to engaging with discovery where the evidence develops, and facts are

found. If the order below is upheld, attorneys may be more reluctant to take on

difficult cases or unpopular clients. As revised in 1993, Rule 11 was carefully

crafted to avoid this consequence.3




3
 Among other goals, the 1993 amendments were “intended to remedy problems that
[arose] in the interpretation and application of the 1983 revision of the rule” and to
“place[] greater constraints on the imposition of sanctions.” Fed. R. Civ. P. 11
Advisory Committee’s Note to 1993 Amendment.

                                         13
        Case: 22-2839     Document: 21      Page: 18     Date Filed: 01/30/2023




      The district court’s imposition of sanctions is reminiscent of concerns that

arose under the 1983 version of Rule 11. The Third Circuit Task Force on Rule 11

highlighted some of those concerns in its 1989 report—the disproportionate impact

of Rule 11 sanctions on unpopular litigants being chief among them. American

Judicature Society, Rule 11 in Transition: The Report of the Third Circuit Task

Force on Federal Rule of Civil Procedure 11 (S. Burbank ed., 1989) at 65–72. The

Task Force cautioned that while Rule 11 may be regarded as a case management

tool, it is “one that should be used with the greatest possible caution” in cases

involving the vindication of constitutional rights. Id. at 71.

      The risk of chilling zealous advocacy is particularly acute in the context of

habeas review and conviction-integrity work. Prosecutorial discretion is a bedrock

principle of our justice system, including the ability of prosecutors to concede prior

errors in the interest of justice. See Young v. U.S., 315 U.S. 257, 258 (1942) (“The

public trust reposed in [prosecutors] requires that they be quick to confess error

when, in their opinion, a miscarriage of justice may result from their remaining

silent.”); U.S. v. Snyder, 136 F.3d 65, 70 (1st Cir. 1998) (“[I]t is a ‘bedrock principle

of our system of criminal justice’ that a federal judge may not interfere with the

government’s prosecutorial decisions solely to vindicate his subjective view of the

wisdom of a given enforcement strategy.”) (internal citation omitted). Prosecutors




                                           14
        Case: 22-2839    Document: 21     Page: 19     Date Filed: 01/30/2023




should be encouraged to exercise their best judgment towards a just result, not

discouraged from exercising their discretion by an expanded sanctions risk.

      Upholding the district court’s sanctions order would send an ominous signal

to prosecutors to think twice about their careers before conducting and advancing

conviction-integrity reviews or making concessions of legal issues in the context of

habeas review. Prosecutors could decide to leave in place questionable or downright

defective convictions for fear of opening a Pandora’s box of potential sanctions,

putting their futures on the line should a court take issue with their professional

judgment.

      Expanding sanctions beyond the clear text of Rule 11 also would harm judicial

efficiency. As the First Circuit stated in Obert: “Counsel every day file motions that

are hopeless, just as they make hopeless objections in trials and hopeless arguments

to the judge. Perhaps a court could sanction counsel under Rule 11 for many such

hopeless motions, but doing so routinely would tie courts and counsel in knots.” 398

F.3d at 146. The expanded and non-textual substantive standards for imposing

sanctions in this case invite private counsel to bring new and expanded rounds of

Rule 11 motions, including for example, if they determine signing counsel was

unaware of a particular fact when they filed a paper, even if signing counsel

conducted a reasonable investigation and the statement had some evidentiary




                                         15
       Case: 22-2839    Document: 21    Page: 20    Date Filed: 01/30/2023




support. Such an expansion of Rule 11 would lead to significant and unnecessary

motions practice, exacerbating expense and delay.

                                CONCLUSION

      For the foregoing reasons, this Court should reverse the district court’s

opinion and order imposing sanctions.

                                         Respectfully submitted,

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                                        16
         Case: 22-2839     Document: 21    Page: 21     Date Filed: 01/30/2023




                    ADDENDUM – LIST OF AMICI CURIAE

        The amici curiae include the following. They serve as amici in their individual

capacities. Academic and professional affiliations are for identification purposes

only.

James M. Becker is Of Counsel at the firm of Buchanan Ingersoll & Rooney, P.C.
He was previously a shareholder there for 10 years, and a partner at the firm formerly
known as Saul Ewing LLP for over 27 years. Prior to private practice, Mr. Becker
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Before What Really Happened or is There a Chance for a Second Act in America;
Less Mischief, Not None: Respecting Federalism, Respecting States and Respecting
Judges in Diversity Jurisdiction Cases; Attorney Client Privilege and Conflicts of
Interest, Legal Ethics for Trial Lawyers; Lawyers’ Responses to Client Perjury
Under the New Pennsylvania Rules of Professional Conduct-What Judges Can
Expect; and The Domestic Relations Exceptions to Federal Diversity Jurisdiction.
Professor Brogan also serves on the Board of Directors of the Pennsylvania
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Stephen D. Brown is a retired partner and formerly civil rights counsel at Dechert
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                                          17
        Case: 22-2839      Document: 21      Page: 22     Date Filed: 01/30/2023




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The Report of the Third Circuit Task Force on Federal Rule of Civil Procedure 11
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Standing Committee on Lawyers Professional Liability, a past chair and present
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John Grogan has been a civil litigator for 25 years. He is a partner at Langer Grogan
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                                            18
        Case: 22-2839     Document: 21     Page: 23    Date Filed: 01/30/2023




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He is an elected Fellow of the American College of Trial Lawyers and the
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of DNA testing in criminal justice, free speech on the Internet, the Freedom of
Information Act, and the abuses of the “war on terror.” He has represented plaintiffs
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same sex couples to marriage equality in the state of Pennsylvania.

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                                          19
        Case: 22-2839    Document: 21     Page: 24    Date Filed: 01/30/2023




also a Professor of Law (Adjunct) at the University of Pennsylvania Carey School
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James C. Martin is a partner at Reed Smith who has concentrated on appellate law
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Arthur Newbold is a retired partner and the former general counsel of Dechert LLP,
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                                         20
        Case: 22-2839     Document: 21     Page: 25    Date Filed: 01/30/2023




of Pennsylvania Carey Law School for the past 16 years. Mr. Reich also is a former
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Criminal Justice Section 2022 Thurgood Marshall Award for dedicated service to
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on a wide range of criminal justice topics. He clerked for two years for U.S. Supreme


                                          21
        Case: 22-2839     Document: 21      Page: 26     Date Filed: 01/30/2023




Court Justice Hugo Black and then practiced law in France with Coudert Frères. He
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American Institute for Law Training within the Office, the in-house training arm of
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Marc J. Sonnenfeld has been a member of the Pennsylvania Bar for more than 50
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He is now Counsel to the firm and is engaged in a wide-variety of pro bono matters.
Mr. Sonnenfeld is a Fellow of the American College of Trial Lawyers and the
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He served as Chair of the Board of Governors of the Philadelphia Bar Association
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Dennis R. Suplee is counsel at Schnader Harrison Segal & Lewis LLP. He served
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                                           22
        Case: 22-2839     Document: 21     Page: 27     Date Filed: 01/30/2023




Adam Thurschwell is a practicing capital defense lawyer currently specializing in
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Ralph G. Wellington is a partner in the Litigation Department at Schnader Harrison
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His practice has included significant matters throughout the United States in class
actions; aviation and railroad law; business and corporate disputes; art law; and trusts
and estates.




                                          23
        Case: 22-2839     Document: 21     Page: 28    Date Filed: 01/30/2023




                     CERTIFICATION OF COMPLIANCE

      This brief complies with the type-volume limitation of FRAP 29(a)(5)

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                   CERTIFICATE OF BAR MEMBERSHIP

      Pursuant to Local Rule of Appellate Procedure 46.1(e), J. Gordon Cooney, Jr.,

Raechel K. Kummer, Lindsey T. Levy, and Colin S. Harris are members in good

standing of the bar of the United States Court of Appeals for the Third Circuit.

        CERTIFICATE OF IDENTICAL COMPLIANCE OF BRIEFS

      The text of the electronic Brief of Amicus Curiae filed with the Court via the

court’s electronic docketing system is identical to the text in the paper copies.

                        CERTIFICATE OF VIRUS SCAN

      A virus detection program, McAfee Antivirus Protection, version 16.0.32,

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and no virus has been detected.

 Dated January 30, 2023                     /s/ Raechel K. Kummer
                                            Raechel K. Kummer




                                          24
        Case: 22-2839    Document: 21    Page: 29    Date Filed: 01/30/2023




                         CERTIFICATE OF SERVICE

      The undersigned certifies that all parties required to be served have been

served. Further, the foregoing Brief of Amicus Curiae was filed with the Clerk and

served this date on counsel of record for all parties through the Court’s electronic

filing system.

Dated: January 30, 2023                   /s/ Raechel K. Kummer
                                          Raechel K. Kummer




                                        25
